‘ Case 1:20-cv-12093-NMG Document 14 Filed 04/13/21 Page 1 of 6

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

EMORY G. SNELL, JR.,
Plaintiff,
Civil Action No.

Vv. 20-cv-12093-NMG

MD STEVEN DESCOTEAUX, et al.,
Defendants.

ete eet et et

 

ORDER
GORTON, J.

Pro se litigant Emory G. Snell, who is incarcerated at MCI
Shirley, brings this action for alleged violations of his
federal and state rights, claiming that the defendants have
failed to provide him adequate treatment and accommodations for
a severe cardiac condition. Snell has also filed motions for a
temporary restraining order/preliminary injunction, leave to
proceed in forma pauperis, the appointment of pro bono counsel,
and additional time to complete service.

I. Motion for Leave to Proceed in Forma Pauperis

In his memorandum in support of the motion for leave to
proceed in forma pauperis (Docket Entry No. 7), Snell
acknowledges that he is a “three strikes” litigant and therefore
cannot proceed in forma pauperis unless he is “under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

“[Section] § 1915(g) merely establishes a threshold procedural
Case 1:20-cv-12093-NMG Document 14 Filed 04/13/21 Page 2 of 6

t

question and does not ask the court to evaluate the merits of

the suit.” Andrews v. Cervantes, 493 F.3d 1047, 1057 (9th Cir.

 

2007); see also Ciarpaglini v. Saini, 352 F.3d 328, 331 (7th

 

Cir. 2003) (same).

Snell contends he meets this requirement because he suffers
a serious cardiac condition that, if not monitored and treated,
could result in death. In his complaint Snell alleges that, On
April 19, 2019, Dr. John Cadigan, a cardiologist, diagnosed
Snell with dilated aorta and ascending root “both beyond their
respective upper limits which require [e] lective/resection
surgery.” Compl. at 1. Snell filed a copy of his June 12, 2019
echocardiogram report which indicates that the internal
diameters of his ascending aorta and aortic root are indeed
above normal. (Docket Entry #9).

Snell included with his complaint a copy of a 1999 medical
article authored by seven doctors concerning “elective” (i.e.,
prophylactic) surgery for a dilated ascending aorta to avoid
“mandatory” surgery when there is acute dissection, spontaneous
rupture, or intramural hematoma to the ascending aorta. (Docket
Entry #1-2 at 3-8). The authors report that the mortality rate
for mandatory dilated ascending aorta surgery patients is three
times higher than the mortality rate for patients receiving
prophylactic surgeries for the same condition. Id. at 7. The

article further states that the mortality rates for the surgery
Case 1:20-cv-12093-NMG Document 14 Filed 04/13/21 Page 3 of 6

patients over 60 was approximately four times greater than that
of the younger surgery patients. Id.

On the present record, Snell has adequately pled that he is
in imminent danger of serious bodily injury. The Court may
reasonably infer from Snell’s complaint and other filings that
he suffers from a potentially life-threatening cardiac
condition, and that the condition needs periodic monitoring to

avoid death or the need for emergency surgery. See, e.g.,

Vandiver v. Prison Health Servs., Inc., 727 F.3d 580, 587 (6th

 

Cir. 2013) (“[F]or the purposes of § 1915(g), an individual

afflicted with a chronic illness that left untreated would

result in serious injury faces imminent danger when the illness

is left untreated.”). The Court can also reasonably infer that

plaintiff alleqes that ;
ane is being denied this treatment because of the attesed purported ang

misconduct of one or more of the defendants.

II. Motion for a Temporary Restraining Order/Preliminary
Injunction

Snell filed with his complaint a “Declaration in Support of
Temporary Restraining Order, in the Alternative, Preliminary
Injunction” (Docket Entry No. 2-1) and a “Memorandum of in
Support of TRO/PI Motion” (Docket Entry No. 2). Although Snell
did not file a freestanding motion for a temporary restraining
order or a preliminary injunction, the “Declaration” reads as

such. Therefore, the Clerk shall rename the “Declaration” as a
Case 1:20-cv-12093-NMG Document 14 Filed 04/13/21 Page 4 of 6

motion for a temporary restrain order and/or a motion for a
preliminary injunction.

In the “Declaration,” which is now treated as a motion,
Snell asks that the Court enjoin the defendants from denying him
an “immediate cardiac consult, &/94 elective surgery resection
of his ‘dilated aorta/ascending root.’” Declaration at 5.
Snell also asks that the Court order that, “upon recovery of
cardiac surgery, [his] care and treatment will be dictated not
by WELLPATH/CCS, but by and through the direction, orders, or
recommendations of any and all cardiac surgeons,” and that “any
other medical treatment required will forthwith begin as needed
upon recommendation of any cardiac specialist . . . or other
cardiac qualified medical profession, not associated with
WELLPATH/CCS/DOC. ” Id.

Insofar as Snell seeks a temporary restraining order, the
motion is DENIED. Snell has not shown, nor can the Court
discern, and reason why the Court should grant the requested
relief without first permitting the defendants to respond. The
motion will remain pending on the docket as a motion for a
preliminary injunction.

IIL. Order
In accordance with the foregoing, the Court hereby orders:
1. The motion for leave to proceed in forma pauperis is

conditionally ALLOWED. Snell has not provided a six-month
. Case 1:20-cv-12093-NMG Document 14 Filed 04/13/21 Page 5 of 6

prison account statement as required by 28 U.S.C. § 1915{a) (2).
Although Snell avers that he has been without any money in his
prison account for five years, he is still statutorily required
to submit a six-month prison account statement. Snell shall
file a six-month prison account statement within forty-five
days. Failure to do so could result in the revocation of in
forma pauperis status and Snell will not be allowed to prosecute
this action until the filing fee is paid in full. The Clerk
shall send a copy of this order to the treasurer of MCI Shirley
or other institution having custody of the plaintiff.

2. Snell’s “Declaration in Support of Temporary
Restraining Order, in the Alternative, Preliminary Injunction”
(Docket Entry No. 2-1) shall be treated as a motion for a
temporary restraining order and/or preliminary injunction, and
the Clerk shall rename the document accordingly.

3. The aforesaid motion for injunctive relief is DENIED
insofar as Snell seeks a temporary restraining order. The
motion will remain pending on the docket as a motion for a
preliminary injunction.

4. The Clerk shall issue summonses for all defendants.
Snell is responsible for serving the complaint, motion for a
preliminary injunction (and the supporting memorandum),

summonses, and this order on the defendants in compliance with
Case 1:20-cv-12093-NMG Document 14 Filed 04/13/21 Page 6 of 6

Rule 4 of the Federal Rules of Civil Procedure and Local Rule
4.1.

5 Snell must complete the aforesaid service within 90
days of the date of this order. Failure to complete service in
a timely fashion may result in dismissal of this action without
further notice from the Court. See Fed. R. Civ. P. 4(m); Local
Rule 4.1. The motion for an extension of time to complete
service shall be terminated as moot.

6. Because Snell is proceeding in forma pauperis, he may
elect to have service completed by the United States Marshals
Service (“USMS”). If Snell chooses to have service completed by
the USMS, he shall provide the agency with all papers for
service on the defendant and a completed USM-285 form for each
party to be served. The USMS shall complete service as directed
by plaintiff with all costs of service to be advanced by the
United States. The Clerk shall provide Snell with forms and
instructions for service.

Te The motion for appointment of counsel is DENIED
WITHOUT PREJUDICE to renewal after the defendants have been
served with and responded to the complaint.

So ordered.

V hewn. Crler

Nathaniel M. Gort6n
United States District Judge

 

Dated: O4/! 3/20? l
